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JOHN W. HUBER, United States Attorney (#7226)
JOHN K. MANGUM, Assistant United States Attorney (#2072)

111 South Main Street, #1800
Salt Lake City, Utah 84111
Telephone: (801) 325-3216
john.mangum(@usdoj.gov

Attorneys for Defendants

 

IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH - CENTRAL DIVISION

 

SOUTHERN UTAH WILDERNESS
ALLIANCE,

Plaintiff,

Vv.

UNITED STATES DEPARTMENT OF THE
INTERIOR, UNITED STATES BUREAU
OF LAND MANAGEMENT, and PAUL N.
BRIGGS, in his official capacity as Cedar
City Field Office Manager,

Defendants.

 

Civil No. 2:17-cv-01166 JNP-DBP

MOTION TO DISMISS FOR
MOOTNESS AS TO CLAIMS II AND III
IN PLAINTIFF’S OPENING BRIEF

Honorable Jill N. Parrish
Magistrate Judge Dustin B. Pead

 

SECOND DECLARATION OF PAUL BRIGGS

I, Paul N. Briggs, offer this declaration pursuant to 28 U.S.C. §1746.

1. Iam employed by the U.S. Department of Interior, Bureau of Land Management (BLM),

Cedar City Field Office in Cedar City, Utah as the Field Manager. I have held this

position since July 23, 2017. Prior to that time, I was the Fuels Program Manager for the

Color Country District based in Cedar City, Utah. I have worked for the BLM for over

30 years in a variety of resource and managerial/leadership positions.

2. On August 1, 2017, as the Responsible Official, I signed the Determination of NEPA
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Adequacy, DOI-BLM-UT-C010-2017-0037-DNA, for the vegetative treatment projects
in the Indian Peak and Stateline project areas.

. On December 18, 2017, the chaining work for the Indian Peak project area was
completed.

. On February 8, 2018, the bull hog work for the Stateline project area was completed.

. On March 12, 2018, my staff informed the Office of the Regional Solicitor that this work
had been completed.

. On March 28, 2018, as the Responsible Official, that signed the Determination of NEPA
Adequacy (DNA), DOI-BLM-UT-C010-2017-0037-DNA, I determined that the Indian
Peak bull hog project was no longer in effect and that no other vegetative treatment work
would be authorized for that project area until new NEPA review or analysis was
completed and a decision record had been issued.

. Land my office have since committed that NEPA analysis, consisting of at least an
Environmental Assessment (EA), not just NEPA review, will be completed and published
with a Decision Record before the first new site-specific project is initiated on the ground
in the greater Hamlin Valley area covered by the earlier June 2014 Hamlin Valley
Resource Protection and Habitat Improvement Project Environmental Assessment (the
2014 EA) (the Hamlin Valley project area).

On May 5, 2018, my staff initiated a new review of potential remaining site-specific
treatment areas within the Hamlin Valley project area and included them in the
forthcoming EA.

. On July 1, 2018, a project ID Team was assembled and conducted its initial assessments,

which represents the formal beginning of the EA review of the potential remaining site-
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specific treatment areas. However, due to wildfire assignments and other priority
workload, further progress has not been made on the EA at this time. In the interim, my
office will continue to abide by the statements made in my original declaration as herein
further narrowed and not undertake any work in the Hamlin Valley project area until a

new EA is completed and a Decision Record is issued. See ECF No. 51-1 at § 6.

I declare, under the penalty of perjury, that the foregoing is true and correct.

Dated: August 14, 2018 go

Paul N. Briggs
BLM Cedar City Field Manager

 
